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                      United States District Court
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

JOSHUA YARBROUGH,                                   §
and MATT LOFLAND,                                   §
                                                    §
Individually and on Behalf of Others                §
Similarly Situated,                                 §
                                                    §       Civil Action 4:19-cv-905
        Plaintiffs,                                 §
                                                    §
vs.                                                 §       JURY DEMANDED
                                                    §
CSS CORP., and                                      §
GLOW NETWORKS, INC.,                                §
                                                    §
        Defendants.                                 §

                         PLAINTIFFS’ SECOND AMENDED
                         COMPLAINT AND JURY DEMAND

TO THE HONORABLE SEAN D. JORDAN:

        Plaintiffs Joshua Yarbrough, Matt Lofland, Lee Green, Sterling Vicks,

Joshua Walker, Michael Brown, Adawale Ashiru, Paul Tijani, Peter Tijani,

Brandon Price, Harom Pringle, Osasu William Saigheyisi, Brett Samuels,

and Rukevwe Ologban (Individually and as “Class Representatives”) 1 present

their Second Amended Complaint for unlawful discrimination and retaliation

in violation of 42 U.S.C. § 1981 (“Section 1981”).




1 All of the Plaintiffs except for Matt Lofland are class representatives. Matt Lofland is proceeding
individually on his retaliation claim.

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I.    NATURE OF THIS ACTION

      1.     The Class Representatives, who worked for Defendants CSS Corp

and Glow Networks, Inc. (jointly “Defendants”) bring this action to redress

race discrimination and retaliation for reporting and opposing race

discrimination.

      2.     The Class Representatives bring this action on behalf of

themselves and all Africans and African Americans who were employed at

Defendants for unlawful discrimination in violation of 42 U.S.C. § 1981

(“Section 1981”) against Defendants. The Class Representatives also assert

violations on their own behalf for unlawful retaliation under Section 1981 for

reporting and opposing race discrimination.

      3.     The Class Representatives seek to represent African and African

American employees of Defendants who have been subjected to one or more

aspects of the systemic race discrimination described in this Complaint,

including, but not limited to: discriminatory policies, practices and

procedures in selection, promotion and advancement; disparate pay;

differential treatment; and racial hostility in the workplace. The systemic

racial discrimination described in this Complaint has been, and is, continuing

in nature.

      4.     The Class Representatives are seeking, on behalf of themselves

and the class they seek to represent, declaratory and injunctive relief; back

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pay; front pay; compensatory, nominal and punitive damages; and attorneys’

fees, costs and expenses to redress Defendants’ pervasive and discriminatory

employment policies, practices and procedures.

II.    JURISDICTION AND VENUE

       5.    Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §

1343(a)(4) and 28 U.S.C. § 1331. This is a discrimination suit authorized and

instituted pursuant to the Civil Rights Act of 1866, 42 U.S.C. § 1981 (“Section

1981”).

       6.    Venue is proper in the Eastern District of Texas pursuant to 28

U.S.C. §§ 1391(b)(1) and 1391(c) because Defendants are subject to personal

jurisdiction, and reside in Texas.

       7.    The Eastern District of Texas is the most logical forum in which

to litigate the claims of the Class Representatives and the proposed class in

this case. Plaintiffs worked at Defendants’ facility in Collin County.

Furthermore, the Class Representatives and many of the potential class

members reside in all areas of the Eastern District of Texas.

III.   PARTIES

       A.    Plaintiffs

       8.    Plaintiff Joshua Yarbrough is a resident of Texas.

       9.    Plaintiff Matt Lofland is a resident of Texas.

       10.   Plaintiff Lee Green is a resident of Texas.

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      11.    Plaintiff Sterling Vicks is a resident of Texas.

      12.    Plaintiff Joshua Walker is a resident of Texas.

      13.    Plaintiff Michael Brown is a resident of Texas.

      14.    Plaintiff Adawale Ashiru is a resident of Texas.

      15.    Plaintiff Paul Tijani is a resident of Texas.

      16.    Plaintiff Peter Tijani is a resident of Texas.

      17.    Plaintiff Brandon Price is a resident of Texas.

      18.    Plaintiff Harom Pringle is a resident of Texas.

      19.    Plaintiff Osasu William Saigheyisi is a resident of Texas.

      20.    Plaintiff Brett Samuels is a resident of Texas.

      21.    Plaintiff Rukevwe Ologban is a resident of Texas.

      B.     Defendants

      22.    CSS Corp does business in the state of Texas and has appeared in

the case.

      23.    Glow Networks, Inc., is a Delaware corporation with its principal

place of business in Dallas, Texas, and has appeared in the case.

IV.   BACKGROUND FACTS

      24.    CSS Corp is an IT and Technical Support Services company.

      25.    Glow Networks, Inc., performs engineering, installation services,

and consulting for telecommunications companies. Glow Networks, Inc., was

acquired by CSS Corp in 2010.

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      26.    Class Representatives Joshua Yarbrough, Lee Green, Sterling

Vicks, Joshua Walker, Michael Brown, Adawale Ashiru, Paul Tijani, Peter

Tijani, Brandon Price, Harom Pringle, Osasu William Saigheyisi, Brett

Samuels, and Rukevwe Ologban are African and African American and were

subjected to race discrimination by Defendants.

      27.    Plaintiff Lofland is white and was retaliated against after

complaining about Defendants’ mistreatment of Africans and African

Americans.

      28.    Defendants treated Africans and African Americans differently

than other employees and subjected them to a hostile work environment.

      29.    Defendants discharged Brandon Price, Michael Brown, Paul

Tijani, Peter Tijani, Harom Pringle, Osasu William Saigheyisi, and Adawale

Ashiru and constructively discharged Joshua Yarbrough, Matt Lofland, Lee

Green, Joshua Walker, Sterling Vicks, Brett Samuels, and Rukevwe Ologban.

      30.    Defendants had a pattern and practice of discrimination against

African and African American employees.

      31.    Defendants monitored and scrutinized Africans and African

Americans more closely than non-African and non-African American

employees.

      32.    Class Representatives’ work location had about eleven rooms.

Only the front two rooms were monitored by cameras.

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      33.    The rooms had open seating, meaning that each employee could

choose the desk or computer he sat at each day upon arriving to work.

      34.    Defendants did not like it when Africans and African Americans

sat together and began spreading them apart -- that is, requiring them to

move to different desks.

      35.    Defendants allowed non-Africans and non-African Americans to

sit together.

      36.    After installing surveillance cameras in the two front rooms,

Defendants began assigning Africans and African Americans to the front two

rooms where they would be in range of the cameras.

      37.    Thirteen of the sixteen African and African American employees

were moved to the front two rooms within range of the cameras.

      38.    The majority of employees assigned to the front two rooms were

African and African American.

      39.    Africans and African Americans were written up or reprimanded

for conduct which non-African and non-African American employees could

engage in without penalty.

      40.    Defendants required African and African American employees to

inform management if the employee left their desk for any reason and would

reprimand them if they failed to do so.



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      41.    Defendants also reprimanded African and African American

employees if they were away from their desks for more than a couple of

minutes whereas non-African and non-African American employees were

generally not reprimanded for taking longer breaks.

      42.    Defendants reprimanded African and African American

employees for having their cell phones out whereas non-African and non-

African American employees were generally not reprimanded for the same

conduct.

      43.    A manager would video or take photos of Africans and African

Americans with their cell phones out and take the photos to Human

Resources or management.

      44.    The same manager did not do this to non-Africans and non-

African Americans and would also use his own cellphone while at work

without repercussion.

      45.    Lofland, as team lead, had two African Americans on his team.

The African Americans were removed from his team and a non-African and

non-African American was placed on his team without Lofland’s input.

      46.    Lofland, as a team lead, recommended to his manager two well-

deserving African American candidates for promotion. Neither of Lofland’s

recommendations received a promotion.



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      47.    Non-Africans and non-African Americans, some of whom Lofland

had recommended against promotion because of lesser performance, were

promoted.

      48.    Yarbrough was a lead engineer, overseeing a group of employees.

      49.    Defendants informed Yarbrough they were replacing him as lead

engineer with a non-African and non-African American.

      50.    Yarbrough’s replacement had less tenure at the company and less

telecommunications experience than Yarbrough.

      51.    Yarbrough was informed he would be demoted to engineer in the

group overseen by his replacement.

      52.    Yarbrough resigned rather than accept the demotion. This

amounts to constructive discharge.

      53.    Other Class Representatives were treated similarly to

Yarbrough.

      54.    Because of Defendant’s policy of discrimination, Brandon Price,

Michael Brown, Paul Tijani, Peter Tijani, Harom Pringle, Osasu William

Saigheyisi, and Adawale Ashiru were terminated because of their race.

      55.    Rather than accept hostile treatment and retaliation, Joshua

Yarbrough, Matt Lofland, Lee Green, Joshua Walker, Sterling Vicks, Brett

Samuels, and Rukevwe Ologban resigned rather than accept the adverse

treatment. This amounts to constructive discharge.

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      56.    During layoffs, Defendants informed employees the layoffs would

be based on seniority with the company. However, a high performing African

and African American employees were laid off. A non-African and non-

African American who had less seniority than many if not all of the Africans

and African Americans was not laid off.

      57.    Lofland’s project manager told Lofland that Human Resources

instructed the manager: “Don’t lay off any white people.”

      58.    Lofland reported and opposed racial discrimination. He

complained to his project manager about Defendants’ mistreatment of

Africans and African Americans, including that they were passed over for

promotion and that Africans and African Americans were assigned to the

front rooms in range of cameras.

      59.    When Lofland’s project manager informed Human Resources of

Lofland’s complaints, the project manager was told he should fire Lofland.

      60.    Less than two weeks after Lofland reported and opposed the

racial discrimination against African and African American employees,

Defendants demoted Lofland from Tier 2 Team Lead to Tier 1 Site Migration.

      61.    Lofland was replaced by a non-African and non-African American

with less tenure at the company and less telecommunications experience

than Lofland.



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      62.    Lofland resigned the same week rather than accept the demotion.

This amounts to constructive discharge.

      63.    Other, and possibly all, African and African American employees

were subjected to the same hostile work environment and pattern and

practice of discrimination as described above.

V.    CLASS ACTION ALLEGATIONS

      A.     Class Definition

      64.    The Class Representatives seek to maintain claims on their own

behalf and on behalf of a class of current and former employees of

Defendants. Each of the Class Representatives is a member of a class.

      65.    One class consists of African and African Americans who are, or

have been, employed by Defendants and have experienced race

discrimination at any time during the applicable liability period or have

experienced retaliation for reporting or opposing race discrimination. Joshua

Yarbrough, Lee Green, Sterling Vicks, Joshua Walker, Michael Brown,

Adawale Ashiru, Paul Tijani, Peter Tijani, Brandon Price, Harom Pringle,

Osasu William Saigheyisi, Brett Samuels, and Rukevwe Ologban as Class

Representatives, are representative of the class. Upon information and belief,

there are several hundred members of the proposed class.




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      B.     Efficiency of Class Prosecution of Common Claim

      66.    Certification of a class of employees similarly situated to the

Class Representatives is the most efficient and economical means of resolving

the questions of law and fact which are common to the claims of the Class

Representatives and the proposed class. The individual claims of the Class

Representatives require resolution of the common question of whether

Defendants have engaged in a systemic pattern or practice of race

discrimination against African and African American employees or of

retaliation for reporting or opposing race discrimination. The Class

Representatives seek remedies to eliminate the adverse effects of such

discrimination in their own lives, careers and working conditions and in the

lives, careers and working conditions of the proposed class members, and to

prevent continued racial discrimination and retaliation in the future. The

Class Representatives have standing to seek such relief because of the

adverse effect that such discrimination has had on them individually, and on

Africans and African Americans and those who opposed or reported racial

discrimination, generally.

      67.    To gain such relief for themselves, as well as for the putative

class members, the Class Representatives will first establish the existence of

systemic racial discrimination and retaliation as the premise for the relief

they seek. Without class certification, the same evidence and issues would be

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subject to re-litigation in a multitude of individual lawsuits with an

attendant risk of inconsistent adjudications and conflicting obligations.

Certification of the proposed class of Africans and African-Americans and

those who have reported or opposed racial discrimination who have been

affected by these common questions of law and fact is the most efficient and

judicious means of presenting the evidence and arguments necessary to

resolve the questions for the Class Representatives, the proposed class, and

Defendants.

      68.    The Class Representatives’ individual and class claims are

premised upon the traditional bifurcated method of proof and trial for

disparate impact and systemic disparate treatment claims of the type at issue

in this case. A bifurcated method of proof and trial is the most efficient

method of resolving such common issues.

      C.     Numerosity and Impracticality of Joinder

      69.    The class which the Class Representatives seek to represent is

too numerous to make joinder practicable. The proposed class consists of

hundreds if not thousands, of current, former, and African and African

American employees and those who opposed or reported race discrimination

during the liability period.




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      D.     Common Questions of Law and Fact

      70.    The prosecution of the claims of the Class Representatives will

require the adjudication of numerous questions of law and fact common to

both their individual claims and those of the putative class they seek to

represent. The common questions of law include, inter alia, whether

Defendants have engaged in unlawful, systemic race discrimination and

retaliation in its selection, promotion, advancement, transfer, training, and

discipline policies, practices or procedures, and in the general terms and

conditions of work and employment; whether Defendants are liable for a

continuing systemic violation of Section 1981; and a determination of the

proper standards for proving a pattern or practice of discrimination or

retaliation by Defendants against its African and African American

employees or those who oppose or report racial discrimination.

      71.    The common questions of fact would include, inter alia: whether

Defendants have, through its policies, practices or procedures, (a) denied or

delayed the promotion of Africans and African Americans or those who

opposed or reported racial discrimination; (b) precluded Africans and African

Americans from eligibility for promotions by denying them training which

employees who are not African and African American or those who did not

oppose or report racial discrimination are granted; (c) paid Africans and

African Americans or those who opposed or reported racial discrimination at

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a disparate level; (d) subjected Africans and African Americans or those who

opposed or reported racial discrimination to differential treatment, including,

but not limited to, less preferable work assignments, inequitable evaluations

and stricter disciplinary policies, practices or procedures; and (e) subjected

Africans and African Americans or those who opposed or reported racial

discrimination to hostility or a hostile work environment.

      72.    The employment policies, practices and procedures to which the

Plaintiffs and the class members are subject are set at Defendants’ corporate

level and apply universally to all class members throughout the world. These

employment policies, practices and procedures are not unique or limited to

any one department; rather, they apply to all departments, and, thus, affect

the Class Representatives and proposed class members in the same ways no

matter the district, division, or position in which they work.

      73.    Throughout the liability period, a disproportionately large

percentage of the managers and supervisors at Defendants have not been

African and African American or those who oppose or report race

discrimination.

      74.    Discrimination in selection, promotion and advancement occurs

as a pattern and practice throughout all levels and all divisions of

Defendants. Selection, promotion, and advancement opportunities are driven

by personal familiarity, subjective decision-making, preselection and

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interaction between non-African and non-African American managers,

supervisors, and subordinates and those who have not opposed or reported

retaliation rather than by merit or equality of opportunity. As a result,

employees who are not African and African American or who have not

opposed or reported race discrimination have advanced and continue to

advance more rapidly to better and higher paying jobs than do African and

African American employees or those who opposed or reported racial

discrimination.

      75.    Defendants’ policies, practices and procedures have had an

adverse impact on Africans and African Americans or those who opposed or

reported racial discrimination seeking selection for, or advancement to, better

and higher paying positions. In general, a higher level of job classification

correlates with a lower percentage of African and African American or those

who opposed or reported racial discrimination employees holding those

positions. The adverse impact is based on, results from, and is caused by

intentional discrimination.

      E.     Typicality of Claims and Relief Sought

      76.    The claims of the Class Representatives are typical of the claims

of the proposed class. The Class Representatives assert claims in each of the

categories of claims they asserted on behalf of the proposed classes. The relief

sought by the Class Representatives for race discrimination or those who

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opposed or reported racial discrimination complained of herein is also typical

of the relief which is sought on behalf of the proposed classes.

      77.    The Class Representatives are, like the members of the proposed

classes, employees who have worked for the Defendants during the liability

period.

      78.    Discrimination in selection, promotion, advancement, and

training affects the compensation of the Class Representatives and all the

class members in the same ways.

      79.    Differential treatment between employees based on race or those

who opposed or reported racial discrimination occurs as a pattern and

practice throughout all levels and departments of Defendants. Defendants

predominantly hold Africans and African Americans employees and those

employees who opposed or reported racial discrimination, including both the

Class Representatives and class members, to stricter standards than

employees who are not African and African American or those who opposed or

reported racial discrimination, and, thus, African and African American

employees or those who opposed or reported racial discrimination often

receive lower performance appraisals than others for performing at the same

level. African and African American employees and those who opposed or

reported racial discrimination are also disciplined, formally and informally,

more frequently and severely than their counterparts who are not African

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and African American. Additionally, employees who are not African and

African American or those who opposed or reported racial discrimination

more often receive preferable work assignments and other preferential

treatment.

      80.    Discrimination in the form of a hostile work environment occurs

as a pattern and practice throughout all levels and departments of

Defendants and affects the Class Representatives and the members of the

class in the same ways. Supervisors and employees have made racially

hostile comments; harassed and intimidated African and African American

employees and those who opposed or reported racial discrimination; made it

clear in various ways that they favor employees who are not African and

African American or those who opposed or reported racial discrimination; and

otherwise have created a working environment hostile to African and African

American employees or those who opposed or reported racial discrimination.

      81.    The Class Representatives, and other employees, have

complained to Defendants’ management and Human Resources about race

discrimination and a racially hostile work environment, as well as retaliation

for those who opposed or reported racial discrimination. Company

investigations into these complaints have been inadequate or superficial.

      82.    The Class Representatives and the class members have been

affected in the same ways by Defendants’ failure to implement adequate

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procedures to detect, monitor, and correct this pattern and practice of

discrimination.

      83.    Defendants have failed to create adequate incentives for its

managers to comply with equal employment opportunity laws regarding each

of the employment policies, practices and procedures referenced in this

Complaint and have failed to discipline adequately its managers and other

employees when they violate the anti-discrimination and anti-retaliation

laws. These failures have affected the Class Representatives and the class

members in the same ways.

      84.    The relief necessary to remedy the claims of the Class

Representatives is exactly the same as that necessary to remedy the claims of

the proposed class members in this case. The Class Representatives seek the

following relief for their individual claims and for those of the members of the

proposed class: (a) a declaratory judgment that Defendants have engaged in

systemic racial discrimination against African and African American

employees and those who opposed or reported racial discrimination by

limiting their ability to be promoted to better and higher paying positions,

limiting their employment opportunities to lower and less desirable

classifications, limiting their training and transfer opportunities, exposing

them to differential treatment, and subjecting them to hostility at work; (b) a

permanent injunction against such continuing discriminatory or retaliatory

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conduct; (c) injunctive relief which effects a restructuring of Defendants’

promotion, transfer, training, performance evaluation, compensation, work

environment, and discipline policies, practices and procedures so that

Africans and African Americans or those who opposed or reported racial

discrimination will be able to compete fairly in the future for promotions,

transfers, and assignments to better and higher paying classifications with

terms and conditions of employment traditionally enjoyed by other

employees; (d) injunctive relief which effects a restructuring of the

Defendants’ workforce so that Africans and African Americans or those who

opposed or reported racial discrimination are promoted into higher and better

paying classifications which they would have held in the absence of

Defendants’ past racial discrimination or retaliation; (e) back pay, front pay,

and other equitable remedies necessary to make African and African-

American employees and those who opposed or reported racial discrimination

whole from the Defendants’ past discrimination; (f) compensatory damages;

(g) punitive and nominal damages to prevent and deter Defendants from

engaging in similar discriminatory or retaliatory practices in the future; and

(h) attorneys’ fees, costs and expenses.

      F.     Adequacy of Representation

      85.    The Class Representatives’ interests are co-extensive with those

of the members of the proposed class which they seek to represent in this

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case. The Class Representatives seek to remedy Defendants’ discriminatory

and retaliatory employment policies, practices and procedures so that

Africans and African Americans will no longer be prevented from advancing

into higher paying and more desirable positions, will not receive disparate

pay and differential treatment, and will not be subjected to racial hostility at

work.

        86.   The Class Representatives are willing and able to represent the

proposed class fairly and vigorously as they pursue their similar individual

claims in this action. The Class Representatives have retained counsel who

are qualified, experienced, and able to conduct this litigation and to meet the

time and fiscal demands required to litigate an employment discrimination

class action of this size and complexity. The combined interests, experience,

and resources of the Class Representatives and their counsel to litigate

competently the individual and class claims at issue in this case clearly

satisfy the adequacy of representation requirement of Federal Rule of Civil

Procedure 23(a)(4).

VI.     CLASS CLAIMS

        87.   The Class Representatives and the putative class they seek to

represent have been subjected to a systemic pattern and practice of race

discrimination or retaliation involving a battery of practices which have also

had an unlawful, disparate impact on them and their employment

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opportunities. The discrimination includes adhering to a policy and practice

of restricting the promotion and advancement opportunities of African and

African American employees so that they remain in the lower classification

and compensation levels, as well as terminating Africans and African

Americans because of their race. Defendants in effect bar Africans and

African Americans from better and higher paying positions which have

traditionally been held by other employees and selectively terminate their

employment. The systemic means of accomplishing such racial gender

stratification include, but are not limited to, Defendants’ promotion, training

and performance evaluation policies, practices and procedures.

      88.    Defendants’ promotion, advancement, training, and performance

evaluation policies, practices and procedures incorporate the following

discriminatory practices: (a) relying upon subjective judgments, procedures,

and criteria which permit and encourage the incorporation of racial

stereotypes and bias by Defendants’ predominately non-African and non-

African American managerial and supervisory staff in making promotion,

training, performance evaluation, compensation, and termination decisions;

(b) refusing or failing to provide equal training opportunities to Africans and

African Americans; (c) refusing or failing to provide Africans and African

Americans with opportunities to demonstrate their qualifications for

advancement; (d) refusing or failing to establish and follow policies, practices,

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procedures, or criteria that reduce or eliminate disparate impact or

intentional racial bias; (e) using informal, subjective selection methods which

allow for rampant racial discrimination; (f) disqualifying African and African

American employees for vacancies by unfairly disciplining them; (g)

discouraging applications and expressions of interest by Africans and African

Americans; (h) penalizing employees for exercising the rights afforded to

them by Section 1981; (i) subjecting Africans and African Americans to racial

hostility in the work environment; and (j) selectively terminating the

employment of Africans and African Americans.

      89.     Defendants’ promotion policies, practices and procedures have

had a disparate impact on the Class Representatives and the class members.

The policies, practices, and procedures are not valid, job-related, or justified

by business necessity. There are alternative objective and more valid

selection procedures available to the Defendants that are more closely related

to the actual responsibilities of the positions, and which would have less of a

disparate impact on Africans and African Americans. However, the

Defendants have failed to use or have refused to use such alternative

procedures.

      90.     Defendants’ promotion, training, performance evaluation,

compensation, and transfer policies, practices and procedures are intended to

have a disparate impact on the Class Representatives and the class they seek

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to represent. The practices form a part of the Defendants’ overall pattern and

practice of keeping Africans and African Americans in the lower

classifications which have fewer desirable terms and conditions of

employment and causing termination of their employment.

      91.    Because of Defendants’ systemic pattern and practice of racial

discrimination, the Class Representatives and class they seek to represent

have been adversely affected and have experienced harm, including the loss

of compensation, wages, back pay, and employment benefits. This pattern

and practice of gender discrimination includes: being denied promotions in

favor of equally or less qualified non-African and non-African American

employees; being denied training opportunities provided to non-African and

non-African American employees; receiving lower performance appraisals for

performing the same work at the same level as non-African and non-African

American employees; being disciplined more frequently and more severely

than non-African and non-African American employees, including being

disciplined for engaging in behaviors for which non-African and non-African

American employees are not disciplined; being subjected to a hostile work

environment; and being terminated.

      92.    The Class Representatives and the class they seek to represent

have been subjected to racial hostility or retaliation at work, both severe and

pervasive, which affects the terms and conditions of their employment. The

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Defendants’ actions and inactions encourage this behavior by its non-African

and non-African American employees.

      93.    The individual Plaintiffs have no plain, adequate, or complete

remedy at law to redress the rampant and pervasive wrongs alleged herein,

and this suit is their only means of securing adequate relief. The Plaintiffs

are now suffering irreparable injury from Defendants’ unlawful policies,

practices and procedures as set forth herein, and will continue to suffer

unless those policies, practices and procedures are enjoined by this Court.

VII. CAUSE OF ACTION (Section 1981)

      94.    Plaintiffs allege that Defendants have discriminated and

retaliated against the Class Representatives and all members of the proposed

class by treating them differently from and less preferably than similarly

situated non-African and non-African American employees and subjecting

them to discriminatory denials of promotions, discriminatory denials of pay

raises, discriminatory performance evaluations, discriminatory subjection to

disciplinary procedures, disparate terms and conditions of employment,

harassment, hostile work environments, termination, and other forms of

discrimination in violation of Section 1981.

      95.    Defendants’ conduct has been disparate, intentional, deliberate,

willful and conducted in callous disregard of the rights of the Class

Representatives and the members of the proposed class.

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          96.   Defendants’ policies and practices have produced a disparate

impact against the Class Representatives and the class members with respect

to the terms and conditions of employment that are based upon, result from,

and are caused by intentional discrimination.

          97.   By reason of the continuous nature of Defendants’ discriminatory

conduct, persistent throughout the employment of the Class Representatives

and class members, the Class Representatives and class members are

entitled to application of the continuing violation doctrine to all of the

violations alleged herein.

          98.   By reason of the discrimination suffered at Defendants, the Class

Representatives and the members of the proposed class are entitled to all

legal and equitable remedies available under Section 1981.

          99.   Individual Plaintiffs may be entitled to damages for retaliation

and injunctive relief.

                                   JURY DEMAND

          100. The Class Representatives request a trial by jury to the extent

allowed by law.

          WHEREFORE, the Class Representatives, on behalf of themselves and

the members of the class whom they seek to represent, request the following

relief:



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      A. Certification of the case as a class action maintainable under Federal

Rules of Civil Procedure 23(a), (b)(2) or (b)(3), on behalf of the proposed

Plaintiff class, and designation of the Plaintiffs as representatives of this class

and their counsel of record as class counsel;

      B. Declaratory judgment that Defendants’ employment policies,

practices and/or procedures challenged herein are illegal and in violation of

Section 1981;

      C. A permanent injunction against Defendants and their partners,

officers, owners, agents, successors, employees and representatives and any

and all persons acting in concert with them, from engaging in any further

unlawful practices, policies, customs, usages, gender discrimination by the

Defendants as set forth herein;

      D. An Order requiring Defendants to initiate and implement programs

that (i) will provide equal employment opportunities for African and African

American employees; (ii) will remedy the effects of the Defendants’ past and

present unlawful employment policies, practices or procedures; and (iii) will

eliminate the continuing effects of the discriminatory and retaliatory practices

described.

      E. An Order requiring the Defendants to initiate and implement systems

of assigning, training, transferring, compensating, and promoting African and

African American employees in a non-discriminatory manner;

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      F. An Order establishing a task force on equality and fairness to

determine the effectiveness of the programs described in (B) through (E) above,

which would provide for (i) monitoring, reporting, and retaining of jurisdiction

to ensure equal employment opportunity, (ii) the assurance that injunctive

relief is properly implemented, and (iii) a quarterly report setting forth

information relevant to the determination of the effectiveness of the programs

described in (B) through (E), above;

      G. An Order placing or restoring the Class Representatives and the class

members into those jobs they would now be occupying, but for Defendants’

discriminatory policies, practices or procedures;

      H. An Order directing Defendants to adjust the wage rates and benefits

for the Class Representatives and the class members to the level that they

would be enjoying but for the Defendants’ discriminatory policies, practices

and/or procedures;

      I. An award of back pay, front pay, lost benefits, preferential rights to

jobs and other damages for lost compensation and job benefits suffered by the

Class Representatives and the class members to be determined at trial;

      J. Any other appropriate equitable relief to the Class Representatives

and proposed class members;

      K. An award of compensatory, nominal and punitive damages to

Plaintiffs;

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      L. An award of litigation costs and expenses, including reasonable

attorneys’ fees, to the Plaintiffs and class members;

      M. Pre-judgment interest;

      N. Such other and further relief as the Court may deem just and proper;

and

      O. Retention of jurisdiction by the Court until such time as the Court is

satisfied that the Defendants have remedied the practices complained of

herein and are determined to be in full compliance with the law.

                                              Respectfully submitted,

                                              /s/ Brian Sanford
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                          CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of this document has been served
via electronic filing on May 27, 2020, to counsel of record.


                                               /s/ Brian P. Sanford




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